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                         UNITED STATES COURT OF APPEALS
                              FOR THE SIXTH CIRCUIT
                              100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt            POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
      Clerk                      CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov




                                      Filed: December 07, 2015




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Office of the Attorney General
of Tennessee
P.O. Box 20207
Nashville, TN 37202

              Re: Case No. 14-6489, David Payne v. TN, et al
                  Originating Case No. : 2:14-cv-00047

Dear Sir or Madam,

   The Court issued the enclosed Order today in this case.

                                      Sincerely yours,

                                      s/Linda M. Niesen
                                      Case Manager
                                      Direct Dial No. 513-564-7038

cc: Mr. Keith Throckmorton

Enclosure



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                                          No. 14-6489

                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT


DAVID R. PAYNE,                                         )
                                                        )
       Plaintiff-Appellant,                             )
                                                        )
v.                                                      )           ORDER
                                                        )
STATE OF TENNESSEE, et al.,                             )
                                                        )
       Defendants-Appellees.                            )



       Before: BOGGS, SUHRHEINRICH, and SUTTON, Circuit Judges.



       David R. Payne, proceeding pro se, has filed a petition for rehearing of a Fed. R. App.
P. 34(a)(2)(C) order approved by this court on August 31, 2015.
       Upon careful consideration, we conclude that we did not misapprehend or overlook any
point of law or fact when issuing our prior order. See Fed. R. App. P. 40(a).
       Accordingly, we DENY the petition for rehearing.


                                             ENTERED BY ORDER OF THE COURT




                                             Deborah S. Hunt, Clerk




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